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                  MAY O 6 2022                                                        Stacey A Osborne
                                                                                 2941 Laurashawn Lane
                ....                                                               Escondido, CA 92026      .,
           CLER�, U.S. DISTRICT COURT
          NORTH DISTRICT OF CALIFORNIA                                            Phone: (760)224-9911
                                                                       Email: thrasherphoto@gmail.com

May 3, 2022

Honorable Judge William Alsup
US District Court
450 Golden Gate Avenue
San Francisco, CA 94 '102
Re: Sweet v. Cardona


Your Honorable Judge William Alsup,

I am writing to you regarding the class action Sweet vs DeVos [Cardona]. My name is Stacey
O,sborne and I am 41 years old. I attended Brooks Institute of Photography in California, owned
and operated by .Career E�ucation.,Corporation [CEC] from January 2003 to December 2005. I
have $57,.825.19 in federai ·loans. The school was sh     _ ut down shortly after the Gainful

misleading their stud�nts:
                      _         h · ·· · · ·         ,.· ·     ,.. ·                         ·
Employment Act was p�t [r,,to . effect.in 201 {/' CE;C. is ·a known b�d actor _i n countless lawsuits for


I applied to BDTR in November 2016. I have been waiting for five and a half years to have my
application processed. I received one of the rubber stamped mass denial letters through email
and have been told those are not valid. I'm waiting to reapply if need be. I have more than
enough evidence that I was misled by this school, yet I am being denied due process. The DOE
has failed to update me in regards to the process of my application beyond the denial letter. The
length of the delay in processing the applications or reaching a settlement is unacceptable and
caused irreparable harm to my financial situation and mental health.


From my understanding, a settlement has not been reached and is now waiting for summary
judgment. I would like to share my student loan story with you and how it has affected my life.

I took out my loans in good faith and had every intention in paying them back. I was told job
placement after graduating was in the 90th percentile for my major and that Brooks Institute of
Photography would help me find work. What I didn't realize, until years after I graduated, was
that I was lied to all along. I haven't been able to find work that will support my monthly loan
payments. There was no help finding work that I was promised. My loans have since almost
doubled from _accrued interest since 2006. This finan,cial burden not .only_ lingers over r:ne but
now .my husband and son. C!=C betrayed and took adyanta.-ge. of me and      . now I have
                                                                                      .. to pay the
con�e  q                        g
        uerices for their wron.• -fui° actions.
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If and when my application is finally approved I can start a college fund for my son and I will be
able to breathe more easily.

Thank you for taking the time and consideration in reviewing this letter.

Respectfully,

Stacey A Osborne
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